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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                                  CASE NO.

 JILL PERL,

         Plaintiff,

 v.

 OCEANIA CRUISES S. de R.L.
 d/b/a OCEANIA CRUISES,

         Defendant.
                                     /

                      COMPLAINT AND REQUEST FOR ADVISORY JURY

         Plaintiff sues Defendant and alleges:

                                   PRELIMINARY ALLEGATIONS

      1. The Plaintiff, JILL PERL, is a citizen of Florida.

      2. Defendant,        OCEANIA       CRUISES      S.   de   R.L.,   d/b/a   OCEANIA        CRUISES.,

 (“OCEANIA”), is a Panamanian limited liability company with its worldwide headquarters,

 principal address, and principal place of business at 7665 Corporate Center Drive, Miami,

 Florida 33126.

      3. This matter is being filed pursuant to Defendant’s federal forum selection clause within

 its passenger ticket contract and, because there is no diversity among the parties, it is brought

 under the admiralty and maritime jurisdiction of the Court. This is an admiralty or maritime

 claim within the meaning of Rule 9(h).

         a. Plaintiffs request an advisory jury trial pursuant to the remedies saved under the

             Saving to Suitors Clause of 28 U.S.C. §1333. See Lewis v. Lewis & Clark Marine,



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             Inc., 531 U.S. 438, 454-55 (2001) (“Trial by jury is an obvious… example of the

             remedies available to suitors.”); see also Suzuki of Orange Park, Inc. v. Shubert, 86

             F.3d 1060, 1063 (11th Cir. 1996). It is within the discretion of the court to allow for

             an advisory jury in an admiralty or maritime claim.

     4. At all times material hereto, Defendant, personally or through an agent:

          a. Operated, conducted, engaged in or carried on a business venture in this state and/or

             county or had an office or agency in this state and/or county;

          b. Was engaged in substantial activity within this state;

          c. Operated vessels in the waters of this state;

          d. Committed one or more of the acts stated in Florida Statutes, Sections 48.081, 48.181

             or 48.193;

          e. The acts of Defendant set out in this Complaint occurred in whole or in part in this

             county and/or state;

          f. Defendant, as a common carrier, was engaged in the business of providing to the

             public and to Plaintiff in particular, for compensation, vacation cruises aboard the

             vessel Oceania Insignia.

     5. At all times material hereto, Defendant is subject to the jurisdiction of the Courts of this

 state.

     6. At all times material hereto, the causes of action asserted in this Complaint arise under

 the general maritime law of the United States.

     7. At all times material hereto, Defendant owned, operated, managed, maintained,

 controlled, and/or had exclusive custody of the Oceania Insignia. (“the vessel”).




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    8. On or about July 26, 2019, Plaintiff was a paying passenger on the vessel, which was in

 navigable waters.

    9. On or about July 26, 2019, Plaintiff entered an elevator on deck six and pressed the

 elevator button for deck nine when the elevator started shaking and/or jolting up and down.

 Plaintiff then pressed the elevator button for deck six, when suddenly the elevator malfunctioned

 as the elevator doors rapidly opened and the elevator jolted upwards, catapulting Plaintiff out of

 the elevator and onto deck six, causing Plaintiff to sustain severe injuries.

         COUNT I – NEGLIGENT FAILURE TO WARN AGAINST DEFENDANT

        Plaintiff re-alleges, adopts and incorporates by reference the allegations in paragraphs

 one (1) through nine (9) as though alleged originally herein.

    10. At all times material hereto, it was the duty of Defendant to provide Plaintiff with

 reasonable care under the circumstances.

    11. At all times material hereto, it was the duty of Defendant to warn passengers (like

 Plaintiff) of dangers that were known, or reasonably should have been known, to Defendant in

 places where passengers (like Plaintiff) are invited to or may reasonably be expected to visit.

    12. On or about July 26, 2019, the Plaintiff was on deck six inside a public elevator aboard

 Defendant’s vessel, which is a place that Plaintiff was invited to by Defendant and a place

 Defendant reasonably expected Plaintiff to be in during the cruise.

    13. On or about July 26, 2019, Defendant and/or its agents, servants and/or employees

 breached its duty to warn the Plaintiff through the following acts and/or omissions:

        a. Failure to warn the Plaintiff of the elevator’s dangerous conditions; and/or

        b. Failure to warn the Plaintiff of the risks and/or dangers associated with the

            malfunctioning elevator on deck six; and/or



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         c. Failure to warn passengers and the Plaintiff of other elevator-malfunction accidents

             previously occurring on the same elevator and/or the same type of elevator involved

             with Plaintiff’s incident.

     14. The above acts and/or omissions caused and/or contributed to the Plaintiff being severely

 injured because Plaintiff would not have used the malfunctioning elevator had Defendant and/or

 its agents, servants and/or employees adequately warned and/or communicated the foregoing to

 the Plaintiff.

     15. At all times material hereto, Defendant knew of the foregoing dangerous conditions

 causing the Plaintiff’s incident and failed to correct and/or warn the Plaintiff about them, or the

 foregoing dangerous conditions existed for a sufficient length of time so that Defendant, in the

 exercise of reasonable care under the circumstances, should have learned of them and corrected

 and/or warned the Plaintiff about them. Insofar as it relates to conditions that Defendant did not

 create, Defendant’s knowledge was or should have been acquired through prior incident(s)

 and/or through its maintenance and/or inspections of the subject elevator(s).

     16. As a direct and proximate result of the negligence of Defendant, Plaintiff was injured

 about Plaintiff’s body and extremities, suffered physical pain, mental anguish, loss of enjoyment

 of life, disability, disfigurement, aggravation of any previously existing conditions therefrom,

 incurred medical expenses in the care and treatment of Plaintiff’s injuries, suffered physical

 handicap. The injuries are permanent or continuing in nature, and Plaintiff will suffer the losses

 and impairments in the future. In addition, Plaintiff lost the benefit of Plaintiff’s vacation,

 cruise, and transportation costs.

         WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

 law against Defendant and requests trial with an advisory jury.



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      COUNT II – NEGLIGENT FAILURE TO MAINTAIN AGAINST DEFENDANT
       Plaintiff re-alleges, adopts and incorporates by reference the allegations in paragraphs

 one (1) through nine (9) as though alleged originally herein.

    17. At all times material hereto, it was the duty of Defendant to provide Plaintiff with

 reasonable care under the circumstances.

    18. At all times material hereto, it was the duty of Defendant to maintain elevators, including

 the elevator Plaintiff entered on deck six, in a reasonably safe condition.

    19. On or about July 26, 2019, Defendant and/or its agents, servants and/or employees

 breached its duty through the following acts and/or omissions:

        a. Failure to adequately and regularly inspect the elevators onboard to determine

            whether the elevators were reasonably safe for use and not malfunctioning; and/or

        b. Failure to maintain the elevator, including the operating equipment, involved with

            Plaintiff’s incident in a reasonably safe condition in light of the anticipated and

            extensive use of the elevator; and/or

        c. Failure to adequately operate, maintain, and repair the mechanical and electrical

            systems of the elevator involved with Plaintiff’s incident, so as to avoid unreasonable

            hazards to passengers; and/or

        d. Failure to promulgate and/or enforce reasonable policies and procedures with regard

            to adequately inspecting, operating, maintaining, and repairing the mechanical and

            electrical systems of the elevator involved with Plaintiff’s incident; and/or

        e. Failure to adequately inspect and/or maintain the subject elevator in a reasonably safe

            condition; and/or

        f. Failing to follow the manufacturer of the elevator’s instructions for maintaining the

            electronical and mechanical equipment; and/or


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        g. Failure to promulgate and/or enforce adequate policies and procedures to inspect

              and/or maintain the subject elevator in a reasonably safe condition; and/or

        h. Failure to eliminate and/or modify the hazard(s) which caused Plaintiff to suffer her

              accident.

    20. The above acts and/or omissions caused and/or contributed to the Plaintiff being severely

 injured because Plaintiff’s incident would not have occurred but for Defendant’s failure to

 adequately inspect and/or maintain the subject elevator.

    23. At all times material hereto, Defendant knew of the foregoing dangerous conditions

 causing Plaintiff’s incident and did not correct them, or the conditions existed for a sufficient

 length of time so that Defendant, in the exercise of reasonable care under the circumstances,

 should have learned of them and corrected them. This knowledge was or should have been

 acquired through Defendant’s maintenance and/or inspections of the elevators aboard the subject

 vessel and/or through prior incidents involving passengers injured due to the wet floor in the

 subject area on Defendant’s vessels and/or Defendant’s similar vessels using the same flooring

 surface.

    24. As a direct and proximate result of the negligence of Defendant, Plaintiff was injured

 about Plaintiff’s body and extremities, suffered physical pain, mental anguish, loss of enjoyment

 of life, disability, disfigurement, aggravation of any previously existing conditions therefrom,

 incurred medical expenses in the care and treatment of Plaintiff’s injuries, and suffered physical

 handicap. The injuries are permanent or continuing in nature, and Plaintiff will suffer the losses

 and impairments in the future. In addition, Plaintiff lost the benefit of Plaintiff’s vacation,

 cruise, and transportation costs. Further, the injuries resulting from his fall are permanent or

 continuing in nature and Plaintiff will suffer these losses and impairments into the future.



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        WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

 law against Defendant and requests trial with an advisory jury.

             COUNT III – GENERAL NEGLIGENCE AGAINST DEFENDANT

        Plaintiff re-alleges, adopts and incorporates by reference the allegations in paragraphs

 one (1) through nine (9) as though alleged originally herein.

    25. At all times material hereto, it was the duty of Defendant to provide Plaintiff with

 reasonable care under the circumstances.

    26. On or about July 26, 2019, Defendant and/or its agents, servants and/or employees

 breached its duty to provide Plaintiff with reasonable care under the circumstances through the

 following acts and/or omissions:

            a. Failure to adequately operate, maintain, and repair the mechanical and electrical

                systems of the elevator involved with Plaintiff’s incident, so as to avoid

                unreasonable hazards to passengers; and/or

            b. Failure to provide instruction to the Plaintiff before and/or during the subject

                cruise with respect to malfunctioning elevators on board the subject vessel; and/or

            c. Failure to promulgate and/or enforce reasonable policies and procedures with

                regard to warning passengers on the subject vessel of the dangerous conditions

                involved with elevators, including when it malfunctions; and/or

            d. Failure to promulgate and/or enforce reasonable policies and procedures with

                regard to adequately inspecting, operating, maintaining, and repairing the

                mechanical and electrical systems on the elevator involved with Plaintiff’s

                incident; and/or

            e. Failure to provide adequate training to the personnel inspecting, operating,

                maintaining, and repairing the mechanical and electrical systems of the elevators,

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                  so as to avoid unreasonable hazards to passengers; and/or

              f. Failing to take the elevator off line until it was safe to use; and/or

              g. Failing to follow reports and recommendations concerning safe operation of the

                  elevator; and/or

              h. Other acts or omissions constituting a breach of the duty to use reasonable care

                  under the circumstances which are revealed through discovery.

    27. The above acts and/or omissions caused and/or contributed to the Plaintiff being severely

 injured because Plaintiff’s incident would not have occurred but for such acts and/or omissions.

    28. At all times material hereto, Defendant knew of the foregoing dangerous conditions

 causing Plaintiff’s incident and did not correct them, or the conditions existed for a sufficient

 length of time so that Defendant, in the exercise of reasonable care under the circumstances,

 should have learned of them and corrected them. This knowledge was or should have been

 acquired through Defendant’s maintenance and/or inspections of elevators aboard the subject

 vessel and/or through prior incidents involving passengers injured due to the wet floor in the

 subject area on Defendant’s vessels and/or Defendant’s similar vessels using the same flooring

 surface.

    29. As a direct and proximate result of the negligence of Defendant, Plaintiff was injured

 about Plaintiff’s body and extremities, suffered physical pain, mental anguish, loss of enjoyment

 of life, disability, disfigurement, aggravation of any previously existing conditions therefrom,

 incurred medical expenses in the care and treatment of Plaintiff’s injuries, suffered physical

 handicap, lost wages and Plaintiff’s working ability has been impaired.                  The injuries are

 permanent or continuing in nature, and Plaintiff will suffer the losses and impairments in the

 future. In addition, Plaintiff lost the benefit of Plaintiff’s vacation, cruise, and transportation



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 costs. Further, the injuries resulting from her fall are permanent or continuing in nature and

 Plaintiff will suffer these losses and impairments into the future.

        WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the
 law against Defendant and requests trial with an advisory jury.
                                                         Respectfully submitted,

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